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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

-against ORDER
16 CR 311 (KMW)

RAHEEM MACK,
Defendant.

KIMBA M, WOOD, District Judge:

Due to a conflict with the Court’s calendar, the conference currently scheduled for

Wednesday, January 13, 2021, is adjourned to Tuesday, January 26, 2021, at 11:00 a.m.

SO ORDERED,

Dated: New York, New York
January 12, 2021
Metre YW. Ua
KIMBA M. WOOD
UNITED STATES DISTRICT JUDGE

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